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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 THE STATE OF TEXAS, et al,                 §
                                            §
                                            §
         Plaintiffs,                        §
                                            §
 v.                                         §         Civil Action No. 4:20-cv-00957-SDJ
                                            §
 GOOGLE LLC,                                §
                                            §
                                            §
         Defendant.                         §



   PLAINTIFF STATES’ REDACTED RESPONSE TO GOOGLE’S MOTION FOR
 SUMMARY JUDGMENT ON PLAINTIFFS’ ANTITRUST CLAIMS, RESPONSE TO
   GOOGLE LLC'S [CORRECTED) STATEMENT OF UNDISPUTED MATERIAL
                 FACTS, AND SUPPORTING MATERIALS

       Defendant Google LLC (“Google”) respectfully submits a redacted version of Plaintiff

States’ Response to Google LLC’s Motion for Summary Judgment on Plaintiffs’ Antitrust Claims

(ECF No. 711), Plaintiff States’ Response to Defendant Google LLC’s [Corrected] Statement of

Undisputed Material Facts in Support of Google’s Motions for Summary Judgment, (ECF No.

712-7), and Declaration of Kiran N. Bhat in Support of Plaintiff States’ Responses to Google

LLC’s Motions for Summary Judgment with all attached exhibits (ECF No. 712-9), which were

filed under seal on December 9, 2024. Google has conferred with Plaintiffs and agreed to file these

redacted versions on their behalf, pursuant to the corresponding Motions to Seal filed by Plaintiffs

(ECF Nos. 709 and 710).
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Dated: December 30, 2024                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on December 30, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

                                                           /s/ Eric Mahr




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